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                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF MONTANA

                                   BILLINGS DIVISION

JAMES D. NUNLEY,                                  )
                                                  )       Cause No.: CV-06-123-BLG-RFC
               Plaintiff,                         )
                                                  )
       vs.                                        )
                                                  )      STIPULATION FOR DISMISSAL
BILLINGS CLINIC, a corporation,                   )
                                                  )
               Defendant.                         )
                                                  )

                   ____________________________________________


       IT IS HEREBY STIPULATED AND AGREED, by the parties hereto, through their

respective attorneys, that the above-entitled action has been fully and finally resolved on the

merits for claims involving Defendant Billings Clinic and that the Defendant Billings Clinic

in the above-named action be dismissed. It is further stipulated that the attorneys for the

parties hereto hereby move the Court for an Order dismissing Defendant Billings Clinic from

the above-entitled action with prejudice, each party to bear its own costs.
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 DATED this 28th day of June, 2007.


                                      CROWLEY, HAUGHEY, HANSON,
                                       TOOLE & DIETRICH P.L.L.P.



                                      By: /s/ Herbert I. Pierce, III
                                       HERBERT I. PIERCE, III
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 DATED this 28th day of June, 2007.



                                      LYNAUGH, FITZGERALD, EISELEIN &
                                          GRUBBS

                                      By: ___________________________
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